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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION

 FIDELITY AND DEPOSIT COMPANY
 OF MARYLAND,

       Plaintiff,
                                               Civil Action No.:
 v.

 C AND H PAVING, INC a/k/a C&H
 PAVING, INC., QUALITY ASPHALT,
 LLC, BENJAMIN CRANFORD, INC.,
 BENJAMIN C. CRANFORD, JR.,
 EMMALEE CRANFORD, ALL STAR
 CONCRETE, INC., CANAAN C.
 CRANFORD, and BENJAMIN C.
 CRANFORD, III.

       Defendants.


                                   COMPLAINT

      Plaintiff,     FIDELITY AND DEPOSIT            COMPANY OF MARYLAND

(“F&D”), through its undersigned counsel, files this Complaint against each of the

above-referenced Defendants and alleges as follows:

                   THE PARTIES, JURISDICTION, AND VENUE

      1.     F&D is an Illinois corporation authorized to conduct business in

Georgia, who is a citizen of Illinois with a statutory home office / principal place of

business located at 1299 Zurich Way, Schaumburg, IL 60196.
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      2.     C AND H PAVING, INC. a/k/a C&H PAVING, INC. (referred to

herein as “C&H Paving,” “C&H,” or the “Contractor”) is a citizen of Georgia and a

Georgia corporation believed to have it principal place business at 204 Main Street,

Thomson, GA, 30824.

      3.     QUALITY ASPHALT, LLC is a citizen of Georgia and a Georgia LLC

believed to have its principal place of business at 204 Main Street, Thomson, GA,

30824. Upon information and belief, QUALITY ASPHALT, LLC’s member(s)

is/are BENJAMIN C. CRANFORD, JR., and/or Reginald D. Mabus, both of whom

are residents and citizens of Georgia.

      4.     BENJAMIN CRANFORD, INC. is a citizen of Georgia and Georgia

corporation believed to have its principal place of business at 204 Main Street,

Thomson, GA, 30824.

      5.     BENJAMIN C. CRANFORD, JR. is citizen of Georgia believed to be

residing at 1136 Wrens Highway, Thomson, GA 308924.

      6.     EMMALEE CRANFORD is a citizen of Georgia believed to be

residing at 1136 Wrens Highway, Thomson, GA 308924.

      7.     C&H Paving, Quality Asphalt, Benjamin Cranford, Inc., Benjamin C.

Cranford, Jr., and Emmalee Cranford (but not the rest of the Defendants to the

lawsuit) are referred to below at times as the “General Indemnitors”.




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      8.     ALL STAR CONCRETE, INC. (“All Star”) is a citizen of Georgia and

a Georgia corporation believed to have its principal place of business at 1136 Wrens

Highway, Thomson, GA, 30824.

      9.     CANAAN C. CRANFORD is a citizen of Georgia believed to be

residing at 3501 GA HWY 17 N, Wrens, GA 30833.

      10.    BENJAMIN C. CRANFORD, III is a citizen of Georgia believed to be

residing at 1136 Wrens Highway, Thomson, GA 308924.

      11.    Jurisdiction and venue are proper under 28 U.S.C. §§ 1332 and 1391

because, among other things: (i) the matter in controversy exceeds $75,000.00,

exclusive of interest and costs; (ii) complete diversity of citizenship exists between

F&D and each of the Defendants; (iii) some or all of the Defendants reside within

the Augusta Division of the Southern District of Georgia; and (iv) some or all of the

actions and/or inactions giving rise to the losses/damages at issue occurred within

the Augusta Division of the Southern District of Georgia.

                                      FACTS

      12.    In 2015, the General Indemnitors executed a General Indemnity

Agreement (referred to here as the “GIA”) in favor of F&D. A copy of the GIA is

attached hereto as Exhibit “A” and is incorporated here by reference.

      13.    Execution of the GIA and the commensurate complete indemnification

of F&D was a condition precedent to F&D issuing the performance and payment


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bonds naming C&H Paving as principal for the projects referenced more specifically

below.

      14.    By executing the GIA, the General Indemnitors agreed that, among

other things, they would:

         exonerate, indemnify, and hold [F&D] harmless from any and all
         liability and Loss, sustained or incurred , arising from or related to:
         (a) any Bond, (b) any Claim , (c) any Indemnitor failing to timely and
         completely perform or comply with [the GIA], (d) [F&D] enforcing
         [the GIA] or (e) any act of [F&D]to protect or procure any of [F&D]’s
         rights, protect or preserve any of Surety's interests, or to avoid , or
         lessen [F&D]’s liability or alleged liability. See Section 2 of the GIA.

      15.    The General Indemnitors also agreed, among other things, that “[a]n

itemized statement of Loss, sworn to by any officer of [F&D], or the voucher or

other evidence of any payment, shall be prima facie evidence of the fact, amount and

extent of the liability of [the General Indemnitors] for such Loss.” See Section 2 of

the GIA.

      16.    At one or more of the General Indemnitors’ request(s), and in reliance

on the GIA, F&D executed payment and performance bonds (the “Bonds”) for the

Georgia Department of Transportation (“GDOT”) for projects listed in Exhibit “B”

attached hereto.

      17.    In January of 2022, C&H Paving advised F&D that it had encountered

financial difficulties and desired assistance from F&D to pay debts and to help C&H




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continue doing business. A copy of a letter from C&H to F&D is attached hereto as

Exhibit “C” and is incorporated here by reference.

      18.   GDOT has expressed concerns in writing to C&H and/or F&D

concerning C&H’s lack of progress and/or delays on the Bonded Projects and

complaints GDOT received from C&H’s subcontractors and suppliers who allege

they were not paid by C&H for labor, services, and/or materials incorporated into

one or more of the Bonded Projects. Examples (but not necessarily all) of these

communications from GDOT are attached hereto as composite Exhibit “D” and are

incorporated here by reference.

      19.   F&D has also been faced with payment bond claims and/or potential

payment bond claims from several of C&H Paving’s subcontractors and/or

suppliers, including, but not limited to claims by Arcilla/Piedmont and Hunt

Refinery.

      20.   In March of 2022, in response to, among other things, in person

meeting(s) and telephone call(s) during which F&D made demands for

reimbursement and collateral security, the General Indemnitors and F&D entered

into an agreement (“March 2022 Agreement”), a copy of which is attached hereto as

Exhibit “E” and is incorporated here by reference, wherein the General Indemnitors

agreed, among other things, to:




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     a.    use their best efforts to complete the Bonded Projects by the

           deadlines in any contract(s) with GDOT (Paragraph 1 of the

           March 2022 Agreement);

     b.    use all of the General Indemnitors’ equipment, personnel,

           property, and assets, including but not limited to the asphalt plant

           that C&H Paving and/or General Indemnitors own and/or control

           to complete the Bonded Projects (Paragraph 1 of the March 2022

           Agreement);

     c.    commit proceeds from any and all non-bonded work to pay C&H

           Paving’s debt(s) and overhead necessary to complete the Bonded

           Projects (Paragraph 2 of the March 2022 Agreement);

     d.    fully cooperate with F&D, including but not limited to efforts to

           complete the Bonded Projects and to investigate claims or

           potential claims from C&H Paving’s subcontractors and/or

           suppliers and/or potential subcontractors and/or potential

           suppliers who might be needed or desired to complete the Bonded

           Projects and/or honor any of F&D’s obligations under the Bonds

           for the Bonded Projects (Paragraph 4 of the March 2022

           Agreement);




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            e.    use their best efforts to facilitate cooperation to assist F&D in its

                  efforts to monitor C&H Paving’s and its subcontractors’ and

                  suppliers’ work related to the Bonded Projects (Paragraph 8 of the

                  March 2022 Agreement);

            f.    cooperate with F&D to grant F&D access to status and payments

                  and other information concerning work and funds relating to

                  projects other than the Bonded Projects, and to enable F&D to

                  monitor C&H Paving’s debt, overhead, and other obligations and

                  determine whether the same are being paid timely and in full

                  through proceeds on projects that F&D did not bond (Paragraph

                  10 of the March 2022 Agreement); and

            g.    sign and record liens, mortgages, notes, and/or deed(s) to secure

                  debt(s) in favor of F&D and encumbering any and all of General

                  Indemnitors’ and their subsidiaries/affiliates’ real and personal

                  property (emphasis added) (Paragraph 13 of the March 2022

                  Agreement).

      21.    As requested of F&D by C&H, and as contemplated in the March 2022

Agreement, F&D paid Arcilla/Piedmont $2,186,985.71 and Hunt Refinery

$2,266,128.17 respectively, to resolve their Bond claims.




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      22.    The General Indemnitors have breached the March 2022 Agreement by,

among other things:

            a.    failing and/or refusing to complete the Bonded Projects on time;

            b.    transferring equipment, personnel, and/or property owned by one

                  or more of the General Indemnitors to Defendants All Star and/or

                  Canaan C. Cranford and/or using equipment, personnel, and/or

                  property owned by one or more of the General Indemnitors on

                  non-bonded projects;

            c.    failing and/or refusing to cooperate with F&D and its consultant,

                  Nicholson Professional Consulting; and

            d.    terminating and failing to reinstate F&D’s access to C&H

                  Paving’s financial systems and information.

      23.    In addition to the above-described breaches of the March 2022

Agreement, Benjamin C. Cranford, Jr. recently informed F&D’s consultant,

Nicholson Professional Consulting, in a telephone call on July 17, 2023 that his son,

Cannon C. Cranford, owned real property on which an asphalt plant in which F&D

has a security interest is located. F&D determined after the call that Benjamin C.

Cranford, Jr. improperly transferred certain real property to Canaan C. Cranford on

or about May 3, 2022, via a Gift of Deed. This occurred within two months of

Benjamin C. Cranford, Jr. signing the March 2022 Agreement committing to pledge


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all real and other property he owned to F&D. A copy of the Deed of Gift is attached

here as Exhibit “F” and is incorporated hereto by reference.

      24.    In addition, F&D recently learned that Benjamin C. Cranford, Jr. jointly

owns certain real property with Benjamin C. Cranford, III (one of Benjamin C.

Cranford, Jr.’s sons), and that Benjamin C. Cranford, Jr. gifted ownership interest to

Benjamin C. Cranford, III as to those properties via a Quitclaim Deed. A copy of the

Quitclaim Deed is attached here as Exhibit “G” and is incorporated hereto by

reference.

      25.    In spite of his obligation under the March 2022 Agreement to pledge to

F&D all real and other property in which he had an ownership interest, Benjamin C.

Cranford, Jr. failed to do so as to these properties.

      26.    Moreover, Benjamin C. Cranford, Jr. gifted the ownership interest in

these properties to Benjamin C. Cranford, III after Benjamin C. Cranford. Jr. advised

F&D that C&H was unable to meet its financial obligations, and in spite of F&D’s

indemnity, collateral, and other rights under the GIA.

      27.    Defendant Emmalee Cranford also separately breached the March 2022

Agreement by failing and/or refusing to sign documents required to transfer to F&D

real property that Ms. Cranford owns located at 1136 Wrens Highway, Thomson,

Georgia 30824.




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      28.    Pursuant to the March 2022 Agreement, on or about May 12, 2022,

C&H Paving, Inc., Benjamin Cranford, Inc., and Benjamin C. Cranford, Jr. signed a

promissory note in favor of F&D (“Promissory Note”), and in conjunction therewith,

provided security deeds in favor of F&D for certain real property (“Security

Deeds”). A copy of the Promissory Note is attached here as Exhibit “H” and is

incorporated hereto by reference; copies of the Security Deeds are attached here as

composite Exhibit “I” and are incorporated here by reference.

      29.    The Promissory Note required Defendants C&H Paving, Inc.,

Benjamin Cranford, Inc., and Benjamin C. Cranford, Jr. to, among other things, pay

F&D $100,000.00 on December 1, 2022, and to also make payments to F&D on the

first of each month from January 1, 2023, through December 1, 2024, to repay

amounts owed to F&D under the Promissory Note.

      30.    To date, Defendants C&H Paving, Inc., Benjamin Cranford, Inc., and

Benjamin C. Cranford, Jr. have failed to make any payments to F&D, in breach of

the Promissory Note.

      31.    As of June 30, 2023, by reason of bonding C&H Paving, F&D had

suffered in excess of $4.4 Million in losses that are in addition to approximately $1

Million in fees, costs, and expenses F&D incurred as a result of bonding C&H and

that are also recoverable in this action.




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      32.    It is undisputed that F&D is threatened with the possibility of incurring

additional damages.

      33.    Defendants C&H and All Star provided F&D with documents in the

last 30 days suggesting they envision at least another $1.6 Million or more in losses

in the future to complete the Bonded Projects.

      34.    More specifically, on June 28, 2023, C&H informed F&D that C&H

had apparently subcontracted with All Star on the Jefferson County Project – Project

No. 222150 (“Jefferson Project”), the costs of which were $3.2 Million or more

higher than the original pricing C&H had agreed to with GDOT for that project.

      35.    All Star’s subcontract and related documents also suggested C&H

anticipated another $4 Million or more in additional losses on the Jefferson Project.

      36.    C&H also informed F&D that C&H had subcontracted with All Star on

the Burke County Project – Project No. 0012575 (“Big Burke Project”)1, the costs

of which were $1.6 Million higher than the original pricing C&H had agreed to with

GDOT for that project.

      37.    F&D also just learned that All Star has been sued by Bank of West for

over $80,000 for an allegedly unpaid equipment financing agreement. See Copy of

the Complaint in that case attached hereto as Exhibit “J”.



1
 There were two Burke County Projects F&D bonded, which have been referred to throughout
construction as the “Little Burke” and “Big Burke” projects.

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      38.     C&H also informed F&D that All Star is not willing or able to provide

payment and performance bonds to guarantee its work for the Bonded Projects.

      39.     Benjamin C. Cranford, Jr. also informed Nicholson Professional

Consulting by phone that C&H and All Star were unwilling to comply with terms

F&D required to ensure F&D was adequately protected in light of the closely held

nature of All Star and a variety of concerns (which were all outlined in a virtual

meeting between F&D and C&H for which there is a transcript of what was

discussed).

      40.     The General Indemnitors have failed to exonerate and/or hold F&D

harmless, as required by the GIA, for the claims referenced above asserted against

F&D under the Bonds.

      41.     The General Indemnitors have also failed to comply with all of their

obligations under the March 2022 Agreement and under the Promissory Note.

      42.     F&D retained the undersigned attorneys to represent it in this action

and is obligated to pay these attorneys a reasonable fee for their services rendered

and costs incurred.

      43.     All conditions precedent to maintaining this action have occurred, been

excused, or have otherwise been waived.




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                                    COUNT I
        (Breach of Indemnity Agreement Against General Indemnitors)

       44.   F&D realleges and incorporates paragraphs 1 through 43 above, as

though fully set forth herein.

       45.   C&H Paving failed to satisfy its obligations to GDOT and has failed to

safeguard F&D from claims by C&H Paving’s subcontractors and suppliers.

       46.   The General Indemnitors have failed to satisfy their obligations to

F&D.

       47.   Despite F&D’s demands for indemnification, reimbursement, and/or

collateral, among other things, the General Indemnitors have failed and/or refused

to honor their obligations to F&D under the GIA.

       48.   Among other things, C&H Paving and the other General Indemnitors

breached the terms of the GIA by C&H Paving failing and/or refusing to honor its

contractual and/or other obligations to GDOT and/or subcontractors and suppliers,

and by the General Indemnitors failing and refusing to exonerate, indemnify, and to

hold F&D harmless from all losses and exposure F&D has faced relating to the

Bonded Projects.

       49.   F&D has incurred damages, including millions of dollars paid to

complete work on the Bonded Projects and to resolve claims and/or potential claims

of subcontractors and suppliers of C&H Paving on the Bonded Projects, as well as



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consulting and/or legal fees, costs, and expenses incurred prior to bringing and

maintaining this action.

      50.    F&D has suffered, and continues to suffer, various kinds of liability,

damage, loss, and expense as the proximate result of having executed the Bonds and

because of the General Indemnitors’ breaches of their obligations under the GIA.

      51.    Pursuant to the GIA, F&D is entitled to an award of its principal

damages, plus its attorneys’ and consulting and other fees, costs, and expenses

incurred in bringing and maintaining this action.

      WHEREFORE, F&D demands judgment against the General Indemnitors

(jointly and severally) for its damages, attorneys’ fees, costs, expenses, pre- and

post-judgment interest, and such other and further relief as this Court deems just and

proper.

                                     COUNT II
(Specific Performance of Indemnity Agreement Against General Indemnitors)

      52.    F&D realleges and incorporates paragraphs 1 through 43 above, as

though fully set forth herein.

      53.    The GIA requires the General Indemnitors to indemnify F&D and keep

it indemnified from and against all liability for losses and/or expenses arising from

various circumstances more particularly described in the GIA.




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      54.     F&D has suffered and continues to suffer various kinds of liability, loss,

and expense as a result of having executed the Bonds because of the General

Indemnitors’ failure to honor their obligations under the GIA.

      55.     In addition to the liability, loss, and expense that F&D has suffered,

F&D may be responsible and liable for additional losses, costs, and expenses not

known to F&D at this time but which are anticipated to be in the range of $5 Million

or more. This is in addition to the over $5 Million in losses, fees, and expenses F&D

has already incurred.

      56.     Despite F&D’s demand that the General Indemnitors fulfill their

obligations under the GIA, the General Indemnitors have failed and refused to do so.

      57.     F&D has no adequate remedy at law to enforce its rights.

      58.     The GIA is just and reasonable and supported by adequate

consideration.

      59.     The terms of the GIA are sufficiently definite to allow enforcement by

this Court.

      60.     The performance F&D seeks is substantially identical to that promised

in the GIA.

      WHEREFORE, F&D requests that this Court enter a decree of specific

performance compelling the General Indemnitors to, among potentially other things:




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             a.     Refrain from moving or transferring any vehicles, traffic control

                    equipment and other personal property from the Bonded Projects

                    or that has been used or could be used to complete the Bonded

                    Projects and/or return any property that has been transferred;

             b.     Refrain from further transfers of any real or personal property to

                    ensure that F&D has the benefit of that property for mitigating

                    its loss(es) at issue and return to the original owner(s) any

                    property that has been transferred;

             c.     Cooperate with F&D’s efforts to mitigate its loss(es) on the

                    Bonded Projects;

             d.     Exonerate, indemnify, and keep F&D indemnified, according to

                    the terms of the GIA, for all liability asserted against F&D,

                    whether or not F&D has made any payment; and;

             e.     otherwise honor all other agreements and obligations contained

                    in the GIA.

                                    COUNT III
       (Breach of March 2022 Agreement Against General Indemnitors)

      61.    F&D realleges and incorporates paragraphs 1-43 above, as though fully

set forth herein.




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        62.   By signing the March 2022 Agreement, the General Indemnitors agreed

to perform all obligations thereunder.

        63.   The General Indemnitors have breached the March 2022 Agreement by,

among other things: (1) failing and/or refusing to adequately prosecute the work

and/or complete the Bonded Projects (resulting in GDOT claiming delay/liquidated

damages on at least two projects (Big Burke and Jefferson); use all of their

equipment, personnel, property, and assets to complete the Bonded Projects; to

maintain certain insurance for the Bonded Projects and/or allowing same to lapse for

months and failing to communicate timely and effectively with F&D about that

occurring (despite F&D just learning that C&H has been sued for a 2022 accident

involving one of its drivers); and terminating and failing and/or refusing to reinstate

F&D’s access to C&H Paving’s financial accounts and records and otherwise failing

to cooperate with F&D and its consultant, Nicholson Professional Consulting.

        64.   Benjamin C. Cranford, Jr. also breached the March 2022 Agreement

when he transferred certain real property to Canaan C. Cranford on or about May 3,

2022.

        65.   Emmalee Cranford also breached the March 2022 Agreement by failing

and refusing to transfer to F&D property she owns located at 1136 Wrens Highway,

Thomson, Georgia 30824.




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      66.    F&D has incurred damages, including millions of dollars paid to help

progress the work on the Bonded Projects and to resolve claims and potential claims

of subcontractors and suppliers of C&H Paving on the Bonded Projects, as well as

attorneys’ and/or consulting fees, costs, and expenses incurred prior to bringing and

maintaining this action.

      67.    F&D has suffered, and continues to suffer, various kinds of liability,

damage, loss, and expense as the proximate result of having executed the Bonds and

because of the General Indemnitors’ breaches of their obligations under the March

2022 Agreement.

      WHEREFORE, F&D demands judgment against the General Indemnitors

(jointly and severally) for its damages, attorneys’ fees, costs, expenses, pre- and

post-judgment interest, and such other and further relief as this Court deems just and

proper.

                                    COUNT IV
 (Breach of Promissory Note Against C&H Paving, Benjamin Cranford, Inc.,
                      and Benjamin C. Cranford, Jr.)

      68.    F&D realleges and incorporates paragraphs 1-43 above, as though fully

set forth herein.

      69.    The Promissory Note required Defendants C&H Paving, Benjamin

Cranford, Inc., and Benjamin C. Cranford, Jr. to, among other things, pay F&D

$100,000.00 on December 1, 2022, and to make monthly payments to F&D starting

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January 1, 2023, to reimburse F&D for losses F&D sustained as a result of issuing

the Bonds.

      70.    Defendants C&H Paving, Benjamin Cranford, Inc., and Benjamin C.

Cranford, Jr. have breached the Promissory Note by failing and refusing to make any

of the required payments to F&D under the Promissory Note.

      71.    F&D has suffered, and continues to suffer, various kinds of liability,

damage, loss, and expense as the proximate result of having executed the Bonds and

because of the breaches of Defendants C&H Paving, Benjamin Cranford, Inc., and

Benjamin C. Cranford, Jr. of their obligations under the Promissory Note.

      72.    Pursuant to the Promissory Note, F&D is entitled to an award of its

principal damages, plus its attorneys’ fees, costs, and expenses incurred in bringing

and maintaining this action.

      WHEREFORE, F&D demands judgment against Defendants C&H Paving,

Benjamin Cranford, Inc., and Benjamin C. Cranford, Jr. (jointly and severally) for

its damages, attorneys’ fees, costs, expenses, pre- and post-judgment interest, and

such other and further relief as this Court deems just and proper.

                                    COUNT V
    (Improper Transfer Against Benjamin C. Cranford, Jr. and Canaan C.
                                Cranford)

      73.    F&D realleges and incorporates paragraphs 1-43 above, as though fully

set forth herein.

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      74.      After signing the March 2022 Agreement, in which he agreed to, among

other things, sign and record liens, mortgages, notes, and/or deed(s) to secure debt(s)

in favor of F&D and encumbering any and all of his real and personal property,

Benjamin C. Cranford, Jr. transferred certain real property to one of his sons, Canaan

C. Cranford.

      75.      The transfer was improper, pursuant to O.C.G.A. § 18-2-74.

      76.      Actual improper intent is evidenced by, among potentially other things:

               a.     The transfer was a gift (i.e., not for sufficient value, if any) to an

                      insider, Canaan C. Cranford (Defendant Benjamin C. Cranford,

                      Jr.’s son);

               b.     The transfer occurred after Benjamin C. Cranford. Jr. advised

                      F&D that C&H was unable to meet its financial obligations and

                      within weeks after Benjamin C. Cranford, Jr. responded to

                      F&D’s collateral, indemnity, reimbursement demands by

                      signing the March 2022 Agreement, wherein he pledged to sign

                      and record liens, mortgages, notes, and/or deed(s) to secure

                      debt(s) in favor of F&D and encumbering any and all of his real

                      and personal property.




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      77.    The Property transfer was also an improper transfer as to F&D pursuant

to O.C.G.A. § 18-2-74 because Benjamin C. Cranford, Jr. did not receive reasonable

equivalent value in exchange for said transfer.

      78.    But for this improper transfer of the real property/ies referenced in

Exhibit “F” to this Complaint (which is incorporated here by reference), the

transferred property is subject to F&D’s rights under the GIA and/or the March 2022

Agreement and/or should be avoided and returned to Benjamin C. Cranford, Jr. and

F&D granted a security interest in them as required under the March 2022

Agreement and otherwise made available to mitigate F&D’s losses and potential

loss(es).

      79.    Because the transfer of the property was improper, F&D seeks an

avoidance of the transfer.

      WHEREFORE, F&D respectfully requests that the Court issue judgment in

F&D’s favor finding that Benjamin C. Cranford, Jr.’s transfer of the properties in

Exhibit “F” (and any other properties that may be identified later to have been

improperly transferred) to Canaan C. Cranford to be improper and restoring

Benjamin C. Cranford, Jr.’s ownership in the property.

                                    COUNT VI
   (Improper Transfer Against Benjamin C. Cranford, Jr and Benjamin C.
                              Cranford, III)




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        80.   F&D realleges and incorporates paragraphs 1-43 above, as though fully

set forth herein.

        81.   After Benjamin C. Cranford. Jr. advised F&D that C&H was unable to

meet its financial obligations, and notwithstanding F&D’s indemnity, collateral, and

other rights under the GIA, Benjamin C. Cranford. Jr. gifted ownership interest to

Benjamin C. Cranford, III as to certain properties described herein via a Quitclaim

Deed.

        82.   The transfer was improper pursuant to O.C.G.A. § 18-2-74.

        83.   Actual improper intent is evidenced by, among potentially other things:

              a.     The transfer was a gift (i.e., not for sufficient value, if any) to an

                     insider, Benjamin C. Cranford, III (Defendant Benjamin C.

                     Cranford, Jr.’s son);

              b.     The transfer occurred after Benjamin C. Cranford. Jr. advised

                     F&D that C&H was unable to meet its financial obligations.

        84.   The Property transfer was also an improper transfer as to F&D pursuant

to O.C.G.A. § 18-2-74 because Benjamin C. Cranford, Jr. did not receive reasonable

equivalent value in exchange for said transfer.

        85.   But for this improper transfer of the real property/ies referenced in

Exhibit “G” to this Complaint (which is incorporated here by reference), the

transferred property is subject to F&D’s rights under the GIA and/or the March 2022


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Agreement and/or should be avoided and returned to Benjamin C. Cranford, Jr. and

F&D granted a security interest in them as required under the March 2022

Agreement and otherwise made available to mitigate F&D’s losses and potential

loss(es).

      86.    Because the transfer of the property was improper, F&D seeks an

avoidance of the transfer.

      WHEREFORE, F&D respectfully requests that the Court issue judgment in

F&D’s favor finding that Benjamin C. Cranford, Jr.’s transfer of the properties in

Exhibit “G” (and any other properties that may be identified later to have been

improperly transferred) to Canaan C. Cranford to be improper and restoring

Benjamin C. Cranford, Jr.’s ownership in the property.

                                   COUNT VII
             (Improper Transfer Against C&H Paving and All Star)

      87.    F&D realleges and incorporates paragraphs 1-43 above, as though fully

set forth herein.

      88.    After signing the March 2022 Agreement, in which C&H Paving agreed

to, among other things, use all of the General Indemnitors’ equipment, personnel,

property, and assets to complete the Bonded Projects, C&H Paving transferred

and/or is threatening to transfer to Defendants All Star equipment, personnel, and/or




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property that was owned by C&H and/or one or more of the other General

Indemnitors.

      89.      The transfer was improper pursuant to O.C.G.A. § 18-2-74.

      90.      Actual improper intent is evidence by, among potentially other things:

               a.    The transfer was to an insider All Star, which is owned by

                     Benjamin C. Cranford, III (Defendant Benjamin C. Cranford,

                     Jr.’s son); and

               b.    The transfer occurred after C&H Paving signed the March 2022

                     Agreement wherein it pledged to use all of the General

                     Indemnitors’ equipment, personnel, property, and assets to

                     complete the Bonded Projects.

      91.      The Property transfer was also an improper transfer as to F&D pursuant

to O.C.G.A. § 18-2-74 because C&H Paving did not receive reasonable equivalent

value in exchange for said transfer.

      92.      But for this improper transfer, the transferred property is subject to

F&D’s rights under the GIA and the March 2022 Agreement.

      93.      Because the transfer of the property was an improper transfer, F&D

seeks an avoidance of the transfer.




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      WHEREFORE, F&D respectfully requests that the Court issue judgment in

F&D’s favor finding that C&H Paving’s transfer of the property to All Star was

improper and restoring C&H Paving’s ownership in the property.

                                    COUNT VIII
             (Request for Injunctive Relief Against All Defendants)

      94.    F&D realleges and incorporates the allegations in paragraphs 1 through

43 above as if fully set forth herein.

      95.    As a result of issuing the Bonds, F&D has already been called upon,

and believes it will continue to be called upon in the future, to pay C&H Paving’s

debts and/or perform C&H Paving’s obligations.

      96.    The General Indemnitors are obligated to indemnify and keep F&D

indemnified from any liability for any losses or expenses.

      97.    The General Indemnitors have failed to meet their indemnity

obligations by, among other things, failing or refusing to satisfy their obligations to

F&D under the GIA, March 2022 Agreement, and/or the Promissory Note.

      98.    The General Indemnitors have failed and/or refused and continue to

refuse to perform their various obligations. As a result, F&D reasonably fears that

it will suffer further damages as a result of the General Indemnitors’ alleged defaults

on the Bonded Project and their failure to honor their obligations to F&D.




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      99.    Unless the Court immediately grants the requested relief, the General

Indemnitors and/or other Defendants may sell, transfer, dispose, lien, secure, or

otherwise divert assets, thereby preventing F&D’s access to these assets for

discharging the obligations of the General Indemnitors to exonerate and indemnify

F&D. Such actions would irreparably harm F&D. More importantly, any removal

or transfer of any traffic control or other safety equipment and other

equipment, materials, etc. on or used for the Bonded Projects could adversely

affect public safety, which is of critical concern to F&D. The Court should

enjoin C&H and any Defendants from removing or assisting in the removal or

transfer of any traffic control or other safety equipment and other equipment,

materials, etc. on or used for the Bonded Projects, in keeping with F&D’s

assigned and other rights in the GIA.

      100. F&D is without a plain, speedy, or adequate remedy at law, and will be

irreparably and permanently injured if this Court does not grant the relief sought.

      101. F&D has already incurred losses of more than $5 million, including

payments made to help progress the work on the Bonded Projects, and to settle with

subcontractors and/or suppliers of C&H Paving on the Bonded Projects, and to

investigate the claims and exposure on those projects.

      102. F&D has a good faith basis for believing it faces considerable future

exposure to additional losses, and because: (a) F&D has already suffered damages


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as a result of satisfying claims on the Bonds that the General Indemnitors failed

and/or refused to satisfy; (b) One or more of the Defendants admits there will be

future losses; (c) GDOT is expressing concerns over two Bonded Projects that

GDOT claims are late and incurring delay / liquidated damages on a daily basis; (d)

F&D has recently learned that one or more of the Defendants is acting in ways that

jeopardize its salvage and other rights; (e) F&D has recently learned of lawsuit(s)

involving one or more of the Defendants that cause concerns about C&H’s and/or

All Star’s ability/ies to complete the Bonded Projects; and (f) F&D has had to pay

more than $100,000 to repair defective work C&H performed on one or more of the

Bonded Projects.

      103. F&D is entitled to an award of its attorneys’ fees and costs in pursuing

this claim according to the Indemnity Agreement and Georgia law.

      WHEREFORE, F&D requests that this Court enter an Order:

       a.   preventing the General Indemnitors from diverting or disbursing any

            funds relating to the Bonded Projects without F&D’s express and

            written approval;

       b.   preventing C&H Paving from entering into any subcontracts with

            regard to the Bonded Projects without F&D’s express and written

            approval;




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 c.   preventing any further property transfer(s) that could affect F&D’s

      rights under the GIA, March 2022 Agreement, or otherwise, without

      prior Court approval;

 d.   requiring the General Indemnitors to render to F&D a full and complete

      accounting of all assets owned by them or in which they, jointly or

      severally, have any interest;

 e.   requiring the General Indemnitors to allow F&D full and complete

      access to all financial books, records, and accounts maintained by or

      for them;

 f.   requiring the General Indemnitors to provide an accounting of all

      property, equipment, and materials owned by one or more of the

      General Indemnitors that has been transferred to any other person or

      entity;

 g.   attaching or freezing the General Indemnitors’ assets to the extent

      required to protect F&D in keeping with its rights under the GIA and

      March 2022 Agreement;

 h.   permanently enjoining and restraining the General Indemnitors from

      selling, transferring, disposing of, or liening any assets or property, and

      further enjoining and restraining the General Indemnitors from

      allowing any assets or property to be liened, unless and until F&D shall


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              be otherwise protected from loss(es) incurred or that could occur going

              forward;

        i.    granting a lien upon all assets and property, including realty, personalty

              and mixed property, in which the General Indemnitors have any

              interest. F&D further requests that such lien(s) shall secure F&D

              against any loss it has sustained or may sustain or incur by virtue of its

              having executed the Bonds;

        j.    requiring the General Indemnitors, jointly and severally, to pay all

              F&D’s fees, costs, and expenses that F&D has incurred and may incur

              as a result of issuing bonds on behalf of C&H; and

        k.    granting such further relief as this Court deems just and proper.

                                     COUNT IX
                         (Exoneration Against C&H Paving)

       104. F&D realleges and incorporates paragraphs 1-2, 11, 17, 18, 21, 40, and

43 above, as though fully set forth herein.

       105. At the request of C&H, F&D issued payment and performance bonds

listing C&H as principal for projects identified in Exhibit “B” to this Complaint.

       106. F&D has already been called upon to pay the debts and/or perform the

obligations of C&H Paving, and it is obligated to exonerate F&D for any such

alleged liability or loss.



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       107. C&H Paving has been unwilling to meet its obligations at issue.

       108. F&D’s obligation(s) is/are fixed, and/or F&D is otherwise entitled to

be exonerated.

       109. Unless the requested relief is immediately granted, F&D will not be

adequately safeguarded.

       110. Further, if the requested relief is not granted, C&H Paving may sell,

transfer, dispose, lien, secure, or otherwise divert assets, thereby preventing F&D’s

access to these assets for discharging the obligations at issue. Such actions will

irreparably harm F&D.

       111. F&D is without a plain, speedy, or adequate remedy at law, and will be

irreparably and permanently injured if this Court does not grant the relief sought.

      WHEREFORE, F&D requests that this Court enter an Order exonerating it

and granting such further relief as the Court deems appropriate.

                                     COUNT X
                       (Subrogation Against C&H Paving)

       112. F&D realleges and incorporates paragraphs 1-2, 11, 17, 18, 21, 40, and

43 above, as though fully set forth herein.

       113. C&H Paving failed to honor its contractual and other obligations that

are at issue.




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      114. As a result, F&D, as surety for C&H Paving, is being forced to

discharge C&H Paving’s obligations and is now and/or will be equitably subrogated

to the rights of the entities and/or people that F&D paid or pays on behalf of C&H

Paving.

      115. F&D’s liability was and/or is merely technical, secondary, and

vicarious to that of C&H Paving, who was actively and completely at fault for and

obligated to pay the underlying liabilities referenced above.

      116. As a direct and proximate result of C&H Paving’s failure and refusal to

pay its debts and liabilities and otherwise honor its commitments to GDOT and C&H

Paving’s subcontractors and suppliers, F&D has suffered damages including, but not

limited to principal damages F&D paid to resolve payment and performance bond

claims (or potential exposure under those bonds), plus attorneys’ and/or consulting

fees, costs, and expenses in investigating and resolving claims and/or exposure

relating to the Bonded Projects. F&D is also threatened with additional damages

going forward.

      WHEREFORE, F&D demands judgment against C&H Paving for its

damages, prejudgment interest, and such further relief as this Court deems just and

proper under the circumstances.




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                                      COUNT XI
                 (Common Law Indemnity Against C&H Paving)

       117. F&D realleges and incorporates the allegations in paragraphs 1-2, 11,

17, 18, 21, 40, and 43 as if fully set forth herein.

       118. C&H Paving, as principal, was primarily liable to GDOT and to C&H

Paving’s subcontractors and suppliers who provided labor, services, and/or materials

for the Bonded Projects.

       119. F&D’s liability, if any, as surety occurs only after C&H Paving failed

and/or refused to honor its commitments, and only to the extent covered by the bonds

at issue.

       120. Any liability on the part of F&D is technical, secondary, and vicarious

to that of C&H Paving, who was actively and completely at fault for and/or obligated

for the monies for which F&D seeks to recover in this lawsuit.

       121. As a direct and proximate result of C&H Paving’s failure and refusal to

honor its commitments, F&D has suffered damages including, but not limited to

principal damages in investigating and resolving claims and potential exposure

relating to the Bonded Projects, plus related attorneys’ and/or consulting fees, costs,

and expenses. F&D is exposed to additional potential damages going forward.




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     WHEREFORE, F&D demands judgment against C&H Paving for its

damages, plus prejudgment interest and such other and further relief as this Court

deems just and proper under the circumstances.

     Submitted July 20, 2023.
                                                 Respectfully submitted,

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